Rich Curtner
Federal Defender
FEDERAL PUBLIC DEFENDER
FOR THE DISTRICT OF ALASKA
425 G Street, Suite 800
Anchorage, Alaska 99501
Phone: (907) 646-3400
Fax: (907) 646-3480
Email: rich_curtner@fd.org

Attorney for Defendant Juan Francisco Rincon Valera



                             UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF ALASKA

 UNITED STATES OF AMERICA,                            Case No. 3:99-cr-00036-HRH-4
                                Plaintiff,            MOTION TO MODIFY CONDITIONS
                                                      OF SUPERVISED RELEASE
                vs.
 JUAN FRANCISCO RINCON
 VALERA,
                                Defendant.


       Defendant Juan Francisco Rincon Valera, through counsel, Rich Curtner,

Federal Defender, moves this Court for an order modifying the conditions of his

supervised release in this matter to allow him to travel outside the country.

Specifically, Mr. Valera requests to travel to the Dominican Republic to visit his

mother who is 100 years old, recently suffered a heart attack and is in serious

condition. Under the current terms of supervision, Mr. Valera is not allowed to

travel outside the United States without the Court’s leave.

       Mr. Valera has discussed this matter with United States Probation Officer

Paula McCormick and has provided her with documentation regarding his mother’s
current medical condition1 as well as a potential travel schedule. Mr. Valera has

permission from USPO McCormick to travel outside the district to Seattle,

Washington, to obtain a U.S. Passport. Once Mr. Valera obtains his passport, he

wishes to travel to the Dominican Republic to see his mother.

          USPO McCormick does not oppose Mr. Valera’s travel to the Dominican

Republic to see his mother.

          DATED at Anchorage, Alaska this 17th day of May, 2019.

                                                              Respectfully submitted,

                                                              /s/ Rich Curtner
                                                              Rich Curtner
                                                              Federal Defender

                 Certificate of Service:
I, Rich Curtner, hereby certify that I electronically filed
the foregoing and any attachments with the Clerk of
Court for the United States District Court for the
District of Alaska by using the district’s CM/ECF
system on May 17, 2019. All participants in this case
are registered CM/ECF users and will be served by
the district’s CM/ECF system. /s/ Rich Curtner




1   See Exhibit A.

United States v. Juan Francisco Rincon Valera
Case No. 3:99-cr-00036-HRH-4                                                            Page 2
